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Ryan Ballard, ISBN 9017
Ballard Law, PLLC
P.O. Box 38
Rexburg, ID 83440
(208) 359-5532
ryanballardlaw@gmail.com

Attorney for Plaintiff

                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF IDAHO

JAMES BRACK MCMURTREY,                                      )    Case No.: 1:16-cv-112
                                                            )
                         Plaintiff,                         )
v.                                                          )    NOTICE OF DISMISSAL
                                                            )
LVNV FUNDING, LLC, a Delaware limited liability             )
company, FIRST NATIONAL COLLECTION                          )
BUREAU, INC., a Nevada corporation.                         )
                                                            )
                  Defendants.                               )
___________________________________________                 )


        COMES NOW the Plaintiff James Brack McMurtrey, by and through his counsel of record,

Ryan A. Ballard of Ballard Law, PLLC, and lodges this notice of dismissal with prejudice as the

parties have resolved their issues and Plaintiff no longer wishes to pursue this action. Each party will

bear its own attorney fees and costs.

        DATED: May 30, 2016.

                                                                        /s/ Ryan A. Ballard
                                                                        Ryan A. Ballard
                                                                        Ballard Law, PLLC




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